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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

DEBORAH PRICE                                  )
1101 Fenmore Drive                             )   Case No: 1:14-cv-846
Cincinnati, OH 45237                           )
                                               )   JURY DEMAND REQUESTED
              Plaintiff,                       )
                                               )   VERIFIED CIVIL COMPLAINT
       v.
                                               )   (Unlawful Debt Collection Practices)
                                               )
PMAB, LLC                                      )
c/o CT Corporation System                      )
1300 East 9th Street                           )
Cleveland, Ohio 44114,                         )
                                               )
              Defendant.                       )
                                               )

                              VERIFIED COMPLAINT

      PLAINTIFF, Deborah Price (Plaintiff), by her attorneys, KAHN AND
ASSOCIATES, L.L.C., alleges the following against DEFENDANT, PMAB, LLC
(Defendant):

                                  INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

      U.S.C. 1692 et seq. (FDCPA).

                            JURISDICTION AND VENUE

   2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

       such actions may be brought and heard before “any appropriate United States

       district court without regard to the amount in controversy,” and 28 U.S.C. 1367

       grants this court supplemental jurisdiction over the state claims contained therein.

   3. Because Defendant conducts business in Ohio, personal jurisdiction is

       established.
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   4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                        PARTIES

   5. Plaintiff is a natural person who resides in the City of Cincinnati, Hamilton

       County, Ohio and is allegedly obligated to pay a debt, and Plaintiff is a

       “consumer” as that term is defined by 15 U.S.C. 1692a(3).

   6. Pursuant to the definitions outlined in 15 U.S.C. 1692a(1-6),Defendant is a debt

       collector and sought to collect a consumer debt from Plaintiff which was

       allegedly due and owing from Plaintiff, and Plaintiff is a consumer debtor.

   7. Defendant is a North Carolina limited liability company and debt collector with

       an office in Cincinnati, Ohio.

   8. Defendant uses instrumentalities of interstate commerce or the mails in any

       business the principal purpose of which is the collection of any debts, or who

       regularly collects or attempts to collect, directly or indirectly, debts owed or due

       or asserted to be owed or due another and is a "debt collector" as that term is

       defined by 15 U.S.C. § 1692a(6).

   9. Defendant is a collection agency that in the ordinary course of business,

       regularly, on behalf of itself or others, engages in debt collection.

                             FACTUAL ALLEGATIONS

   10. Defendant is seeking to collect an allegedly due and owed consumer debt

       obligation which was incurred for personal, family, or household purposes from a

       Wilma Hamner.
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   11. Defendant, using telephone numbers 704.553.7146 and 800.849.0088, places

       repeated, frequent, and excessive collection calls to Plaintiff at telephone number

       513.531.8929, a group home for mentally ill women owned by Plaintiff.

   12. Plaintiff has informed Defendant’s agents on multiple occasions that the alleged

       debtor has not resided at Plaintiff’s address for several years and could not be

       reached at the telephone number they were calling.

   13. Plaintiff informed Defendant on several occasions to stop calling 513-531-8929

       asking for Wilma Hamner because she could not be reached at that number.

   14. Defendant’s agents have informed Plaintiff they would put Plaintiff’s telephone

       number on a “do not call” list but then continued to call multiple times a day

       including the following day after stating Plaintiff’s number would be put on a “do

       not call list.”.

   15. Defendant placed calls to Plaintiff on an almost daily basis. Defendant’s frequent

       calls evidences that Defendant is placing calls to Plaintiff for purposes of making

       her telephone ring with the intent of harassment or annoyance.

                                        COUNT I

 DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

   16. Defendant violated the FDCPA based on the following:

           a. Defendant violated §1692d by engaging in conduct the natural

               consequence of which is to harass, oppress, or abuse any person in

               connection with the collection of a debt.

           b. Defendant violated §1692d(5) by causing a telephone to ring or engaging

               any person in telephone conversation repeatedly or continuously with
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               intent to annoy, abuse, or harass any person at the called number.

           c. Defendant violated §1692e(10) by the use of any false representation or

               deceptive means to collect or attempt to collect a debt or obtain

               information concerning a consumer.

           d. Defendant violated §1692f by using any unfair or unconscionable means

               to collect or attempt to collect a debt.

       WHEREFORE, Plaintiff, Deborah Price, respectfully requests judgment be

entered against Defendant, for the following:

   17. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices

       Act, 15 U.S.C. 1692k,

   18. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

       Practices Act, 15 U.S.C. 1692k

   19. Any other relief that this Honorable Court deems appropriate.

                             DEMAND FOR JURY TRIAL

       Plaintiff, Deborah Price, requests a jury trial in this case.

                                               RESPECTFULLY SUBMITTED,

                                               KAHN & ASSOCIATES, L.L.C.

                                               _/s/ J. Daniel Scharville__________
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